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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  ANGEL G. LUEVANO, et al.,


                 Plaintiff,

          v.                                                  Civil Action No. 79-0271

  CHARLES EZELL, Acting Director, Office of
  Personnel Management, et al.,

                 Defendants.


                          [PROPOSED] ORDER GRANTING
                   PLAINTIFF’S MOTION FOR EXTENSION OF TIME

        UPON CONSIDERATION of Plaintiff Angel G. Luevano’s (“Plaintiff”) motion to

extend response deadline, it is hereby

        ORDERED that Plaintiff’s motion is GRANTED; it is further

        ORDERED that Plaintiff shall file a response in this proceeding on or before June 3,

2025.



SO ORDERED:



_______________________                      ______________________________________
Dated                                        THE HON. REGGIE B. WALTON
                                             UNITED STATES DISTRICT JUDGE




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